           Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 1 of 6 PageID# 1




                                                                      ~
                          IN THE UNITED STATES DISTRICT COURT                n        n        ~     ~
                                                                          I ll        b    ---~~:,   II \\
                              EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION                    ~720187~
                                                                      CLERK, U.S. i ,,, , ff:iCT COURl
Francis Schaeffer Cox,                           )                               RlCHfi,~ 'lD. VA

        Plaintiff,                               )
                                                 )
vs.                                              )    Civil No.   ~-16cvll4
                                                 )"
EBERLE ASSOCIATES,                               )
Tammy Cali- President/CEO                        )
William D. Griffins- Vice President              )
Mike Murray- President DIRECT MAIL               )
PROCESSORS INC.                                  )

                    COMPLAINT FOR NEGLIGENCE AND MISREPRESENTATION


                                       JURISDICTION
      1.     Plaintiff is the sole principal of FREE SCHAEFFER COX, because he
is in fact the Schaeffer Cox targeted by the fraudulent FREE SCHAEFFER COX
"PROJECT,~' and is a resident and citizen of Fairbanks, AK.
      2.     Defendant EBER~ ASSOCIATES, is a corporation organized and existing
under the laws of the State of Virginia: with its principal place of business
in McLean, VA with an address of 1420 Spring Hill Road #490 McLean: VA 22102.
      3.     The matter in controversy, exclusive of interests and co~t: exceeds
the sum of $75,000.
      4.     This Court has subject matte~ jurisdiction over the action based on
28 U.S.C. & 1332(a)(1).
      5.     This Court has personal jurisdiction over the Defendant in that the
Defendant is authori~ed to do business, and is doing business in this State.




                                             1
          Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 2 of 6 PageID# 2


     6.     Venue is proper in this judicial district under 28 U.S .. C. & 1391(b)
(2), in that a substantial part of the event and omission giving rise to the
claim asserted occurred in this judicial district.


                                   BASIS!FOR :REEIEFr

     7.     On February 23, 2015, Defendant EBERLE ASSOCIATES had its Agent,
DIRECT MAIL PROCESSORS issue a check in the amount of $38,000 to FREE
SCHAEFFER COX.      This check was sent, along with a let ter1 to Maria Rens el, who
claimed to be the "Project Manager" of          the FREE SCHAEFFER COX "PROJECT:"
with an address of 1676 Taroka Drive, Fairbanks, AK 99709.             This $38,000 was
the pr.oceeds of a test mailing created by EBERLF. ASSOC.TATES, allegedly on
behalf of FREE SCHAEFFER COX.        However~ Maria Rensel 1 and EBERLE ASSOCIATES
did not have lawful authorization to raise funds in the name of Schaeffer Cox,
or FREE SCHAEFFER COX.
     8.     On March 18: 2015; Defendant EBERLE ASSOCIATES~ through its President/
CEO Ta~my Cali: and Vice President William D. Griffins, agreed and signed a
contract with Maria Rensel, who signed as "Project Manager", and Richard Neff,
who si~ned as ari::()fficer of the organization as "Vice Chairman."           The parties
appearing on this contract were EBERLE ASSOCIATES and FREE SCHAEFFER COX,
which was said to be a "PROJECT OF ALASKANS FOR LIBERTY."
     9.     This contract stated that the Defendant EBERLE ASSOCIATES would
provide services by advisin~ the Client on issues related to the Client's
direct mail fundraising program, as well as the services of conducting the
actual dir.flct mail mailings, which sought donations to FREE SCHAEFFER COX.
     10.     On March 18, 2015, Defendant EBERLE ASSOCIATES had their Agent,
Mike Murray, who is alleged by the Defendants to be the President of DIRECT
MAIL PROCESSORS, agree and sign a contract with Maria Rensel, who claimed to



                                          2
           Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 3 of 6 PageID# 3


 be the "Project Manager" of FREE SCHAEFFER COX-           This agreement was also signed
 by Bill Rensel, who did not identify himse'f as an Officer of this so-called
 "project," or of ALSKANS FOR LIBF.RTY.
      11.     Defendant EBERLE ASSOCIATES, issued FREE SCHAEFFER COX post-test
 projections stating that the first year would gross revenue of $1,050~880: the
 5econd year would gross revenue of $1,538,385·, and the third year would gr.oss
 revenue of $1,705,353.       The agreement signed was for 36 months, and approxi-
 matelv~ 24 months of the a2reement was comoleterl bafo~e EBERLR ASSOCIATES
                                •-                I



 ceased all mailin~s in November 2016.          Defendant EBERLE ASSOCIATES, did ~dvise
 that the FREE SCHAEFFER COX donations far surpassed their projections of gross
 revenue for the first approximately 24 months.
      12.     During the time of the direct mail program, Defendants EBERLE
 ASSOCIATES, Tammy Cali, and William D. Griffins~ did in fact commit acts that
 are considered fraud under the law -despite the :fact that there•¥,?S2?n,.~9.q~g.c,e
 of -int·ent· -to deceive-    because of violations of a public or private trust or
 confidence.      There was clear misrepresentation and a breach of fiduciary duty,                '
 and the use of undue influence committed by EBERT...E ASSOCIATES, when Tammy Cali,
 ~nd William D.. Griffins assured Plaintiff that all monies would remain in the
· Direct Mail Account, ·after Plaintiff notified the Defendants that those who
                                                                                11
 claim to be Officers 9f ALSKANS FOR' LIBERTY and FREE SCHAEFFER COX                 PROJECT 11'
                                                                                                   1
-were in fact frauds, and not only was Plaintiff not re~eiving the fundi raised-
 for his -legal defense fund, but he also never authorized any of the so-called
 Officers of the Board of ALASKANS FOR LIBERTY~ or FREE SCHAEFFER COX "PROJECT'':
 to raise funds on his behalf~ .cash checks payable to FREE SCHAEFFER COX, or
 to do any business in his name.


    In these matters, the Defendants were negligent in the following way.s:
      A.     Fail~re to verify if ALASKANS .FOR LIBERTY was in fact a legally


                                           3
         Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 4 of 6 PageID# 4


incorporated or unincorpor.ated 501(c){4) as~ociation in good standing.
       B.    Failure to verify if ALASKANS FOR LIBERTY was lawfully or legally
permitted to cond11ct business on behalf of themselves or their so-called
FREE SCHAEFFER COX "PROJECT."
       C.    Failure to verify if Maria Rens~l, Bill Rensel, Richard Neff, or
Terry Dodd were in fact actual Officers of ALASKANS FOR LIBERTY.
       D.    Failure to verify the fact that ALASKANS FOR LIBERTY was declared a
tax delinquent Wyoming Corporation in 2013          and had its corporate status
revoked.
       E.    Failure to verify if Maria Rensel, Bill Rensel~ Richard Neff, and
Terry Dodd were real persons, using their real names.
       F.    Failure to veri.fv., if ALASKANS FOR LTBERTY had leg-al
                                                                .~   or lawful autho-
rization to use the name Schaeffer Cox or FRF.F. SCHAEFFER COX.
       G.    Failure to adhere to warnings by Schaeffer Cox that ALSKANS FOR
LIBERTY'S so-called Officers were in fact committing fraud and not to send
money to them.
       H.    Failure to·se8k legal or lawful a11thorization from Schaeffer Cox to
conduct a direct mail program on behalf of Sch~effer Cox: or FREE SCHAEFFF.R
C0X.
       I.    Failure to provide an accounting to Schaeffer Cox of the funds raised
for his legal defense fund, which were never received by SchaeffP-r. Cox,_or
used for their int~nded purpose •
       .J.   Fai.l11re to verify if the so-called FREE SCHAEFF.ER COX "PROJECT" was
in fact an authorized project of ALASKANS FOR LIBERTY-
       13.    As a result of the negligence of the Defend3ntss Plaintiff did not
receive any of the donated funds raised for the sole purpose of his legal
defense.~ which was well over $3 million dollars.
       14.    In addition, as a result of the negligence of the Defendants, the


                                          4
      Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 5 of 6 PageID# 5


Plaintiff ha~ been deprived of the society and comfort of his sur,pnrters and
has suffered mental anguish    as a result of the Defendants negligence; as well
as losing future support from many of his supporters who were disappointed to
learn that their donations had been i~properly diverted away from Plaintiff.
     Adequate compensation must be determined by the trier of fact in this
matter but is, in no event, less than the sum of $3 million dollars.


                                   JURY DEMAND
     15.    Plaintiff requests trial by jury.


                               Plaintiff requests:
     A.    Judgment against the Defendants for the sum of $38;000 for the funds
raised on his behalf by the test mailing conducted by the Defendants.
     B:    Judgment against the Defendants for the loss of the eDtire $3 million
dollars raised by the Defe~dants as a result of the direct mail program that
was conducted by the Defendants on behalf of Plaintiff.
     C.    Judgment against the Defendants for the loss of the comfort and
society of his supporters in an amount not less than $1 million dollars.
     D.    Judgment against the Defendants to provide Plaintlff with the entire
list of all donations made, as well as who they wP.r.e made by.
     E.    An award of Plaintiff's cost.s of suit; and all other relief to which
the Plaintiff may be entitl~d.
                                           Dated:       fo -                       (8


                                                 Reg.
       Case 3:18-cv-00774-JAG-RCY Document 1 Filed 11/07/18 Page 6 of 6 PageID# 6


                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of thl8 complaint was
maile.rl to the Clerk of the United States District Court for the Eastern
District of Virginia on thiR __ / 1. f-"'day of _ d c..~6,,? r ·---- 1 2018,
via the United States Postal Service, postage pre-paid-




                                                  Re~-
                                                  Federal Correctional Institution
                                                  P.O. Box 33
                                                  Terre Haute, IN 47808




                                       6
